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     Attorney for Defendant
4    JIHAD A. ZOGHEIB

5
                                 L]NITED STATES DISTRICT COURT
6
                                          DISTRICT OF NEVADA
 7
                                                ,l<**

 8

 9
            UNITED STATES OF AMERICA,
10
                          Plaintifl
1l
                                                        CASE NO. : 2:16-cr-056-LRH-VCF-l
l2
            JIHAD ANTHONY ZOGHEIB,
l3
                          Defendants.
14

l5
l6                        MOTION FOR FAVORABLE EVIDENCE
t1           COMES NOW, Defendant, Jihad Anthony Zogheib, by and through his attorney, Randall

l8    J. Roske, Esq., and submits his Motion to Obtain Exculpatory Evidence. This Motion is

t9    supported by the following Memorandum of Points and Authorities, Exhibits, and Declaration   of

20    Counsel.

21                                             DATED this l9'h day of January, 2018.

22
                                               Respectful ly submitted,
ZJ
                                                  lsl
24                                             Rd-ndffi
                                               Attorney for Jihad Arithony Zogheib
25

26

27

28
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                   I

               2

               J

               4
                                                                        I. TIIE FACTS
           5
                                 The Defendant' Jihad
               6ll                                    Anthony Zogheib, is
                                                                          charged in a superseding
                                                                                                   indictment with eight

                              'J,'"i;l^l                    s,6,7,,)and,wo               t,2,3,4,
          r//,#IJ;:T;:l:
          *         l8
                   ff
                        laundering under
                       u.s.c.            ll-'^,1::' Docket; ; ;;:ilr,
                                                          $ resT (counts e, r0).
                                                                                   'is                             coun,s ormoney


      ,
                        ttot'u"    23'2016' and the superseding                                                   ;;j;ffi:,
               ff                                               indictment was fircrr a^-ir         (   rnr - ^
     ,,
                       ::T':n1
                                     .;";;;;;:,.,:.", ;.,,;:H :: ::,:,::::i,: .1'1, "*"
                                  "s,r;le''
               /l

                    (Counts6.7.8).OnOctober
                    lcornt. 7 xr nn
                              6.
                                              ;;.,, ff ffiIi,,i:J,;:::il:T .,IT'
     ,, ffff                                  A^+^L^. .
                                                          ^, ^^. -
                                                          24,20tT.andOcrober
                                                                             31,20,;.";;;;;;:;;.;il:::).
                                                       excurpatorv discoverv
                                                                             bv two separare retters
      ' ll//,:#I"::::::T:-r
     to
           ttg"tts'              (Please see Exhibits
                                                      A and B attached hereto).
                                                                                                     with
                                                                                                      ,,u, rPrrviltu
                                                                                                           specinc rargeted
                                                                                                                     targeted
                                                                                The requesr specificary
                                                                                                         outrined what
  ,,                           1d rhese requests were
                                                      made with the assisrance
                                                                                orMr
     ll H:: rJ
                                                                             vw \rt tvlf. JerI
                                                                                          Jeff uan
                                                                                               Danik, a
                        :":-1,  *." authorized ro assist in this case. Mr Danik
  ,,           "::::::: who
          ll   ::::: ::l:'::::-:r,                   ::o                    !ruA orrst
                                                                                  arter uarelully
                                                                                         carerury
 ,r llu"uttting the discovery provided by the Government, identified what materiars rhat in his
                                                                                                    opinion as a
                                  with the internal operationar guiderines
  r                                                                        rhat were either herprur to
    ll:::::.::.l,ot"t,familiar                                                                         evaruare
 ,r lltnt::::'t"':"andrerentionofevidencebytheFBr,ormateriarswhichwourdherpundermine
                   of'the presently known witnesses
 ,o ll ltt:otltty                                     against M. Zogheib. ( prease
                                                                                     see Exhibit D, the
                    vitae of Jeff Danik)' The government
,,   ll :":'tulum
                                                           through its assigned prosecutor,
                                                                                              never dignified the
               materials request with any written
,rll''?,*                                         response until drafting a Joint
                                                                                  Motion for continuance
                    Mr' Zogheib's apparent need to file rnorions
,,  ll ::**'cing
                                                                  to comper. (Docket # 80, page 3,
                                                                                                     rines l4-r7)
               note that Mr' zogheib's previous
,o ll :'tutt                                       counsel had arso asked rhe governmenr
                                                                                            to request Mr.
                  A-file as to cornply with the requirements
 zsllz'en'ib's                                                laid our in padilla v.     Kentucky,559 u.s.356
            0)' The government responded vs that
                                            rrrqr they
                                                  trrsy would
,u llll"ot
26                                                      wur'rr(l not comply
                                                                     compry wtth
                                                                             with this request since they were rnot
       so''e to negotiate a resolution that would "help him
zz   ff
                                                                  fZogheibl avoid immigration consequences.,,

28

                                                                      Page 2   of 2l
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      I         These materials were never suppried to this
                                                            author or to his previous counser.
      2                Pursuant to Fed. R.   crim. P. l6(a)(1)(A)-(F), zogheibasks this court to order the
      J        government to provide the materials identified
                                                              in the Exhibits   "8,   and ,,C,,attached hereto.
     4         counsel has followed up on the Brady material request
                                                                        with the assigned prosecutor about the
     5         sufficiency of counsels efforts to 'omeet and confer,"
                                                                      only to be advised to go ahead and file the
     6         instant Motion (See Declaration of counsel Exhibit
                                                                       A). The Defendant submits the following
     7         would be exculpatory:

     8

     9
                        (1) A Cerlification/confirmation, from the United States
 l0                                                                              Attomey,s office that there is
               nothing to produce in Discovery related to Giglio issues
                                                                         addressing: the USAos verbal inquiry
 ll
               (per instruction in the United. States Attorney's office
                                                                        Manual) of all FBI employees and TFos
 12
               working the Zogheib case for any pending Giglio issues, and
                                                                              that each government employee,s
 l3
               name has been queried, with negative, results in the
                                                                     US Attorney's office Giglio/Brady database
 14
               for past entries.
 l5
            Specifically, the following Government agents involved in the
 t6                                                                            case are: Lance Shakespear;
    Jennifer Piovesan; Thayne A. Larson; Ryan S. Burke; Jerald
          l
                                                                    Burkin; Christina Burt; Marcus J.
 t7       I



    Florez; John Salazar; Neil Umphress; Sean C. Jones; Jayme
                                                                    E. Gentile; Include all records related
 l8
    to any investigation of Charles Ro, who acted as a supervisor periodically
 t9                                                                               on the Zogheib
    investigation; particularly any internal investigation (office
                                                                   of professional Responsibility-opR
20
    or DoJ-lG) related to use of government money to purchase prostitution
2t                                                                               services in the
    Philippines for targets of his investigations or other FBI employees. produce
22                                                                                   adjudication findings
    and penalties imposed on Ro. Produce the statement of FBI
                                                                   SA Marc Napolitano or any other
23
    employee regarding Ro. Produce all records prepared and/or provided
24                                                                            by FBI Director Robert
    Mueller to the U.S. Senate Judiciary Committee at the order of U.S.
25
                                                                           Senator Charles              Grassley,
              related to Ro's use of U.S. government funds to purchase underage
                                                                                 prostitutes in the philippines.
26
              Produce TFo IA files from their respective police agencies
                                                                         for any TFo working in coniunction
27
              with the Zogheib investigation.
28


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          I         2. Witness/ Cooperating Human Source Discovery
                                                                        Demand:
      2             a) Regarding any cHS used in the investigation
                                                                   (known       at a minimum are s-005299g and S-
      J             0056845):

      4         (b) For electronic communications not turned-over
                                                                  in Discovery: Disclose all phone       numbers
      5         (SMS/text)' email addresses or any screen
                                                          names used by the FBI to communicate
                                                                                               electronically
      6         with any CHS in this case.
      7         (c)Disclose approvals granted by the
                                                      FBI for the case agents/handlers to communicate
      8         electronically with the cHS or that those required
                                                                   approvars were not obtained.
      9
                (d) Disclose all money paid in total for any purpose
                                                                     to the cHS including both expenses and
     l0
               services (CHS "V,, sub-file);
 l1
               (e) Disclose the amount of money paid related
                                                             strictly to the zogheibcase (Services r Eypsn5s,
 12
               broken out separately).
 l3
               (f)    Disclose the most recent criminal History
                                                                of the witness/cooperating Human Source.
 t4
               (g) Disclose the results of FBI required Public
 l5                                                            Records        checks for CHS from commercial
               databases (e. g. Lexis/Itrexus-lnvestigator/Accuri
 l6                                                               nt);

 17            (h) Disclose the results of periodic Indices/Sentinel
                                                                     inquires related to cHSs (specifically if the
 18           cHS was indexed as a reference or subject in other
                                                                 FBI investigations);
 19           (i) Disclose all FBI approvals for the cHS to
                                                             engage in otherwise Illegal Activity    (olA)   and
20            include dates of authority and termination
                                                         of authority;
21
              O Provide copies of consensual monitoring authorization
                                                                      ECs/approval forms and consensual
22            monitoring forms (FD-472 and FD_473) signed
                                                          by the CHS.
23
              (k) copies of any admonishments documented to
                                                            the cHS file evidencing the cHS having
24
              violated rules, violated policies etc.;
25
              (l)
              Disclose any third party benefit agreements
                                                          documenting the cHS is working-off prosecution
26
          issues of another person;
27
          (m) Disclose any prosecution deferral or declination
28                                                             or benefit (e.g. visa adjustment) promised
                                                                                                          to


                                                           Page 4   of   21
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          I     the CHS in exchange for the CHS,s
                                                  cooperation.
      2         (n) Disclose the results of the required cHS
                                                             "Testing" by the case agents if the cHS
                                                                                                          failed the
      3         testing. In any case, confirm the CHS
                                                      was tested via policy.
      4         (o) Disclose if the cHS had recording equipment
                                                                routinely      assigned to him for extended periods
      5        of time' which is routine with cHS's in
                                                       the FBI. Disclose if that recording equipment
                                                                                                     was in the
      6        possession of the cHS while meeting
                                                     with Zogheib but not used to record conversations.
      7

      8        TEXTS/EMAIL/IM/TOLL RECORDS :
      9        (p) All TExrs/sMS, IM plus EMAIL on BorH
                                                        the FBI internal (FBI Net) and FBI official
     l0        external (Internet cafe-IC) tolfrom all agents,
                                                               TFos, CHSs or professional support staff rerating
                                                                                                                 in
     Hi        any way to the investigation.
 12

 l3            NorE: specifically include not only officially assigned
                                                                       long-term    phones (Galaxy-Bu phone) but
 14           ALL FBI owned cell phones INCLUDIING any cell
                                                                 phones or devices purchased specifically
                                                                                                            for
 15           the UCo' The internal FBI IM application
                                                       should also be searched. If personal or private
                                                                                                       devices
 16           were used by agents, produce those relevant
                                                           communications arso.
 17           Produce all relevant IM/texts/emails fbr
                                                       the entire investigation period, but prioritize
                                                                                                       first for
 18           production:
 19           SPECIFICALLY SOUGHT ARE ALL COMMUNICATIONS
                                                                oF: S.A. LANCE
20            SHAKESPEAR, s.A. R'AN s. BURKE and
                                                 S.A. THA'NE A. LARS,N;
2t            FoR: All electronic communications with any
                                                          investigator and any or either cHS regarding
22            Defendant Zogheib;
23            (q) Detail funds   expended, and any documents related to purchase
                                                                                 by govemment agents        of
24        software/apps to configure text communication
                                                        to save incoming communications and/or delete
25        outgoing communications.
26           Toll records for all calls and texts for any agent
          1r)                                                   assisting in the investigation contacting cHS
27        phones' Include voice contact and text
                                                    contact with numbers contacted, date, time
                                                                                                 and length of
28        contact.


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          I
                    (s) ANY criminal history, investigative
      2
                                                            files or Brady/Giglio material for KENNETH
                                                                                                       RICHARD
                    WYNN.
      J

      4             (t)   ANY criminal history, investigative files or
                                                                       Brady/Giglio materials for KIRK EVAN
                                                                                                            LEWIS.
      5
                   (u) Any worksheets, work     papers, notes, reports or forensic
      6                                                                            exam results of the email alleged to
                   have been sent on or about 05/10/2011
                                                           to Kenneth wynn, specifically where
      7                                                                                           the email originated,
                   where it was received and the identity
                                                          of the sender. Include Ip addresses, routing
      8                                                                                                evidence. and
                   any evidence that the email was transmitted
      9
                                                                into the State of Nevada.

     10       l    OTHER MATERIALS:
 ll (v) All FD-302 reports' FD-1023s or Electronic communications
                                                                                         (ECs) for any contact with
 12               NSDC guards regarding Jeffrey Turino's accessing
                                                                   other inmate,s discovery at the Southern
 l3               Nevada Detention Center.

 t4
                  (w) All recorded calls in possession of the FBI
 l5                                                               of Anthony Zogheib speaking on telephones
                                                                                                                  at
                  any detention/prison facility at which he
                                                            has been incarcerated, which are related
 l6                                                                                                  to his
                  indictment.
 t7
                  (x)  Records of any instructions received by
                                                                the FBI for minimizing or segregating Zogheib
 18                                                                                                           legal
                  calls to make sure privileged conversations
                                                               are not overheard  by the government.
 t9
20
                  (y) Any reports/notes of government agents
                                                               who listened to Zogheib's recorded calls.
21                                                                                                        Specifically
                  include agent notes, even if handwritten
                                                           or not entered into the FBI official record
22                                                                                                     keeping system.

23            (z) All records in possession of the government
                                                                 showing any travelactivity (credit card
24            receipts/airline tickets etc) for the whereabouts
                                                                of Kenny wynn from the period of 05l0ll20ll
25        through 05/20/2011.
26

27        (aa)          All records in possession of the government showing
                                                                              any travel activity (credit card
28        receipts/airline tickets etc) for the whereabouts
                                                            of Anthony zogheibfrom the time             of 05101/zoll
                                                             Page 6   of 2l
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         I     through 05120/2011.

      2

      J        (bb) All records of interview of Kenny wynn regarding
                                                                     conversations, observations or activities
      4       wynn engaged in with zogheib during two days aboard
                                                                    Zogheib's yacht in or near the San Diego
      5       Marriott Harbor in mid-2013.
      6
              (cc) Opening communication of FBI File
                                                     2glN_2476g1g.
      7

     8        (dd) Serial l3 of 3l8B-LV-41778-GJ. (Document
                                                            was deleted and removed from Zogheib file).
     9
                                              (EC or other) authorizing the opening and Full
 10           IttJr9ffi'fffro#t'nication                                                     Field Investigation o

 l1
              (ff) The Sentinel listing/index of .,lAs,, in the   case.
 t2
              (gg) Any reports/notes of government agents
                                                            who listened to Zogheib,s recorded calls.
 l3
              Specifically include agent notes, even if handwritten or
 t4                                                                    not entered into the FBI official record
              keeping system.
 l5
 t6
             (hh) All records in possession of the government
                                                                  showing any travel activity (credit card
 t7
             receipts/airline tickets etc) for the whereabouts of
                                                                   Kenny wynn from the period of o5/0ll20ll
 l8
             through 0512012011.
19

20           (ii) All records in possession of the government showing
                                                                      any travel activity (credit card
2t           receipts/airline tickets etc) for the whereabouts of Anthony
                                                                          Zogheibfrom the time of 05/ ol/2011
22           through 0512012011.
23
             0j) All records of interview of Kenny wynn regarding conversations, observations
24                                                                                             or activities
             wynn engaged in with Zogheib during two days aboard Zogheib's
25                                                                            yacht in or near    the San Diego
             Marriott Harbor in mid-2013.
26

27           (kk) Opening communication of FBI File 2glN-2476g1g.
28


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          I     (ll)   Serial l3 of
                                 l8B-LV-41 778-G.1. (Document was deleted and
                                      3
                                                                               removed from Zogheib file).
          2     (mm) opening communication (EC or other) authorizing
                                                                     the opening and Full Field Investigation
      3         of3l8B-LV-41778.
      4
                (nn) The Sentinel listing/index of ,.lAs,,
                                                           in the case.
      5
                (oo) Any and all communications including
                                                             e-mails and correspondence establishing the
     6                                                                                                       existence
                of a "shadow prosecution," vindictive prosecution,
                                                                     non-adherence to petite policy, Selective and
     7
               vindictive prosecutions, outrageous government conduct
     8
                                                                            (i.e. conduct which shocks the
               conscience' (Note that this request is new, but there
                                                                      is no reason at this time to believe that given
     9
               the blanket refusal to dignify the foregoing requests
 10
                                                                     with voluntary compliance).

 1l
               (pp) Produce any records, email, text, EC's FBI
                                                               Tech Request Forms or other evidence regarding
 12
               the seeking or obtaining of a 2703(d) order under the
                                                                     Electronic communications privacy Act of
 13
               1986 for records sought reading Jihad Anthony Zogheib, paul
 t4                                                                        S. Nassif, Kenneth wynn, orKirk
               Evan Lewis from Google, MGM Resorts International (and
 l5                                                                   reklated entities), wells Fargo Bank
               or any other financial institution.
 16

17
              (qq) Any divorce records of Paul S. Nassif, M.D.,
                                                                specifically related to financial aspects   of
l8
              Nassif s divorce proceedings.
t9
20
              (rr) Any bankruptcy records related to Kirk Evan Lewis,
                                                                      including records of the U.S. Bankruptcy
2l
              Court.
22

Z)
              (ss) Email, text or FBI report of interview (FD-302),
                                                                    or IRS report of interview for contact witrh
24
              Steve Saum on or about 1110812016 believed to have
                                                                    been conduxcted at 910 South Lola Lane,
25
              Pahrump, NV.
26

27
              (tt) Email, text or FBI report of interview (FD-302), or IRS
                                                                           report of interview for Donna walker-
28    1




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      I              on or about 1110812016, believed to have been conducted
           lzereib                                                           at 910 Lola Lane, pahrump, NV.
      2
      1
      J     (vv) Any records of contact with Nye county
                                                        Sheriff Sharon wehrly regarding Steve Saum,
     4      Anthony zogheib, Nye counties Technologies, Inc. or
                                                                 Jeffrey Turino.
     5

     6     (ww) Any reports of interview of Cynthia Taylor Miller.

     7

     8     (xx) Any wire transfer records, Federal Reserve Bank records
                                                                        or other financial records
     9     evidencing an alleged wire transfer of $268,000 on or about
                                                                         02/2'lzoll   that was executed via the
 l0        Federal Reserv e Fedwire system, the Real Time Gross
                                                                Settlement System (RTFS) or clearing
 t1        House for the Interbank payment System (CHIPS).

 t2
 13        (yy) Transcripts of Federal Graand Jury 2012-R0l 002 or 2014-R0
                                                                           1g42, inthe District of Nevada,
 l4        related to Jihad Anthony Zogheib.

 l5        (zz) Any records of interview documents, filings or other evidenced
                                                                               regarding contact with the
l6         United States Securities Exchange Commission (SEC) regarding Nye
                                                                                 Technologies,   Inc.
17

l8         (aaa) Any recordings or other records of conversation
                                                                 between Donna walker-Zgheib and Jihad
19         Anthony Zogheib.

20

21        (bbb) Produce page 2 of the FBI FD-302 report of interview
                                                                     with Kenneth Wynn dated
22        02/26/2013.
23

24        (ccc) Produce a copy of the Federal Grand Jury Subpoena number
                                                                         "005,, in this matter related to
25        Jihad Anth ony Zo ghelb, (" 20 12-R0 I 002 -00 5,'
                                                        ).
26

27        (ddd) Produce recording of Jihad Anthony Zogheib dated
                                                                 on or aboutr 0Bl13l21l3. Include any
28        FBI FD-472/473 forms and FD-302 reports of chain of custody on the recording
                                                                                       device, reports of

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      I         surveillance and copy of the FBI form "lD,,envelope
                                                                    fpr this recording.
      2

      J
                       The Defendant formally requests that the government's
     4                                                                        attorney examine its files and to
                question the government's agents, informants
                                                             or other persons working with the government in
     5
               this case' as to their knowledge of any such evidence
     6
                                                                     or materials requested and refbrenced above.
               Defendant would further request that his representatives
                                                                        be allowed to question the government,s
     7
               agents concerning their knowledge of exculpatory
                                                                  evidence and diligence in attempting to locate
     8
               such evidence.
     9

 l0
 ll                                                       II.   THE LAW
                                           A. The Government,s Brady Obligations
 t2
                      The Government is obligated to disclose, upon request,
 l3                                                                           to disclose any favorable evidence
              to the accused that is material to guilt or punishment.
                                                                      See, Brady v. Marylan d,373 U.S. g3, g7
 t4
              (1963); Giglio v. united States,405 u.s. 150, I 54 (1972).
 r5                                                                         Favorable evidence includes both
          l


              evidence that is directly exculpatory and impeachment
                                                                      evidence. United States v. Bagley,473
 t6
              u'S' 667, 676-77 (19s5). The "materiality" of     such evidence to guilt or punishment, however, is
t7
              not to be discounted and disclosure should be made even
                                                                      where its utility is doubtful.
l8
                      Several recent decisions have highlighted the consequences
t9                                                                                  of
              Brady violations by government prosecutors. See, e.g.,United
20
                                                                              States v. Stevens, No. 0g-cr-231,
              2009 U'S' Dist' LEXIS 39046 (Apr. 7, 2009); United States
                                                                           v. Jones, No. 07-l 02gg,2009 U.S.
21
              Dist' LEXIS 41902' at* 9 (May 18, 2009) (noting prosecutor's
22
                                                                              failure to disclose exculpatory
              material "reflects a fundamentally flawed understanding
                                                                      of her obligations,,and    ordering
23
               re-training of government prosecutors). chief Judge Lambefth,
24
                                                                                after noting the government,s
              numerous discovery violations there, stated: "The Court has
                                                                             learned that it must watch over the
25
              government with heightened supervision to ensure
                                                                 that it performs even its most basic duties . . .
26
              [and the court will] view government assurances that it is making progress in providing
27                                                                                                       discovery
              to defendants through a much more skeptical lens. This courl-and
28                                                                                   hopefully other courts in this


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      I         district-will  take note that the government had to be admonished
                                                                                         because of its failure to
      2         conduct discovery in a professional manner." United
                                                                           States v. Archbold-Manner, 5gl F. Supp.
      3         2d22' (D' D' C' 2008)' The duty to disclose exculpatory
                                                                              evidence as noted in Agurs,427 U. S. At
     4          108, involves the application of'an inevitably
                                                                  imprecise standard." Although the same ,.imprecise
     5          standard" applies in the pretrial and post-trial context,
                                                                           the Supreme Court has recogn ized a
     6         "practical difference" between the pretrial decision
                                                                       of the prosecutor, who must decide what, if
     7         an}'thing, to produce to the defense, and the post-trial
                                                                          decision of the judge, who must decide
     8         whether a non-disclosure violated due process. Id. Consequently,
                                                                                       "and because the significance o
     9         an item of evidence can seldom be predicted accurately
                                                                            until the entire record is complete, the
 t0            prudent prosecutor will resolve doubtful questions in
                                                                         favor of disclosure.,, [Id.;see also Cone v.
 ll            Bell, 129 S' ct. 1769,1783 n.15 (2009) which states:"As we
                                                                                  have often observed, the prudent
 t2            prosecutor will err on the side of transparency, resolving
                                                                             doubtful questions in favor of
 l3 disclosure'"); Kyles v. whitley, 514 u.S. 41g,43g (1995) (stating
                                                                         that ,,a prosecutor anxious
 t4 about tacking too close to the wind will disclose a favorable piece
                                                                        of evidence.,,)]. A number of
 l5 courts, have held that the Government "must always produce any potentially
                                                                                    exculpatory or
 16 otherwise favorable evidence without regard to how
          l
                                                          the withholding of such evidence might be
t7            viewed-with the benefit of hindsight-as affecting the outcome of the trial.,,
                                                                                            United States v.
l8            Safavian, 233 F.R.D. 12,14 (D.D.c. 2005); see also united states
                                                                               v. Naegele, 46g F. Supp. 2d
19            150, 152 (D'D'C. 2007) [describing Safavian as "clarifyfing] the
                                                                                 meaning of Bracly, how it is to
20            be applied by the Department of Justice and the U.S. Attorney's
                                                                                office in this Court. and what the
2t            government is obligated to do to meet its responsibilities
                                                                         under Brady',].
22                    This view of the Government's pretrial Brady obligation was recently
                                                                                                 cited approvingly
23            by the Ninth Circuit and it addressed the issue of the duties of "trial
                                                                                      prosecutors who must
24            regularly decide what material to turn over." United States v. price,
                                                                                        566 F.3d 900, gl4n.l4 (9th
25            Cir' 2009)' Judge Friedman in Safavian explained the crucial reason
                                                                                       why all ,,potentially
26            exculpatory or otherwise favorable evidence" must be produced
                                                                             without regard for whether
27            prosecutors believe the evidence is material, because most prosecutors
                                                                                         are neither neutral (nor
28            should they be) nor prescient, and any such judgment necessarily
                                                                               is speculative on          so


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          I       many matters that simply are unknown
                                                              and unknowable before trial begins:
                                                                                                       which
          2       govemment witnesses will be
                                                    available for trial, how they will
                                                                                          testify and be evaluated by
          3       the jury' which objections to testimony
                                                             and evidence the triar judge will
                                                                                               sustain and which he
          4       will overrule' what the nature of the defense
                                                                will be, what witnesses
                                                                                    and evidence will support
          5        that defense' what instructions he court
                                                            will ultimately give, what questions the jury
      6            may pose during deliberations (and how
                                                                they may be answered), and whether the
      7           jury finds guilt on all counts or only
                                                         on some (and which ones). The prosecutor
                                                                                                        cannot
      8           be permitted to look at the case pretrial
                                                            through the end        of the telescope of an appellate court.
      9           [See, Safavian,233 F.R.D. at 13_14].
     l0       I          The Safavian court's observation about
                                                                     the prosecutor's inability to view the
                                                                                                               evidence
     1l          impartially takes on added significance
                                                           when one considers the role of defense
                                                                                                        counsel. For it is
     12          defense counsel who must ultimately
                                                        decide whether a given piece of evidence
                                                                                                        is favorable, or
 l3             not' Although this motion deals only with
                                                              the constitutionar requirements of due process
                                                                                                                   as
 t4             interpreted in Brady and later cases, prosecutor
                                                      a               in the District of columbia also has an
                                                                                                                  ethical
 l5             duty to disclose the evidence implicated
                                                            in this motion. Rures of professional
                                                                                                       conduct, as
 16             embodied in Nevada Rules of Professional
                                                                 Responsibility, Rule 3.g entitled ,,special
 t7            Responsibilities of a Prosecutor" provides
                                                                that a prosecutor shall disclose to the
                                                                                                           defense. ,,all
 18
              levidence that tends to negate guilt of the accused ormitigates the offense, and
                                                                                                      in connection with
 19            sentencing' disclose to the defense and
                                                         to the tribunal all unprivileged mitigating
                                                                                                         information
20             known to the prosecutor, except when the prosecutor
                                                                          is relieved of this responsibility by a
2t             protective order of the tribunal." See
                                                      also ABA standards for criminal
                                                                                                Justice, prosecution
22            FunctionandDefenseFunction3-3.11(a)(3ded.
                                                                     1993)("Aprosecutorshouldnotintentionally
23            fail to make timely disclosure to the defense,
                                                             at the earliest feasible opportunity, of
                                                                                                      the existence
24            of all evidence or information which tends
                                                          to negate the guirt of the accused or mitigate
                                                                                                           the
25        offense charged or which would tend to
                                                     reduce the punishment of the accused,,);
                                                                                                ABA Model
26        Rule of Professional conduct 3.8(d) (1984)
                                                            which states:,,The prosecutor in a criminal
                                                                                                        case
27        shall ' ' ' make timely disclosure to the
                                                    defense of all evidence or information
                                                                                            known to the
28        prosecutor that tends to negate the guilt
                                                     of the accused or mitigates the offense.,,

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      I                It is not enough to have the requirement that Brady material
                                                                                    be made available at trial;
     2         Disclosure early on ensures that the wisdom of any plea
                                                                         bargains can be evaluated properly with
     3         full disclosure of favorable as well as unfavorable evidence. Thus,
                                                                                     even if one assumes the purest
     4         of motives, a prosecutor who withholds evidence based on
                                                                            his own judgment that it is not
     5         "potentially exculpatory or otherwise favorable" is at best
                                                                           substituting his judgment for that of
     6         defense counsel. Such arrogation of the defense counsel's
                                                                           role works systematically against
     7         criminal defendants, because the consequences of a misjudgment
                                                                                  by the prosecutor are
     8         asymmetrical' That is, if the prosecutor mistakenly turns over evidence
                                                                                         that the defense counsel
     9         deems unfavorable, that evidence will not be introduced and the prosecutor's
                                                                                                mistake will be of
 10            no consequence to anyone. But if the prosecutor mistakenly withholds
                                                                                        evidence that defense
 u             counsel would deem favorable, then the right of the accused to
                                                                              a fair trial has been abridged in
 12            crucial and sometimes irremediable ways. For precisely these reasons,
                                                                                        in this Court, the
 t3           Government's Brady obligation includes the disclosure of all favorable
                                                                                     evidence.
 t4           i'e', "any information in the possession of the government. . . that relates
                                                                                           to guilt orpunishment
l5            and that tends to help the defense by either bolstering the defense
                                                                                  case or impeaching potential
t6            prosecution witnesses." Id. at l5-16.
          l



nl                    Despite this unambiguous standard, the prosecution and the defense have
                                                                                              frequently been
l8            "two ships passing in the night when it comes to Brady." Naegele, 46g F.
                                                                                          Supp. 2d, at 152. ln
l9            this case, for instance, the Government has taken the position that Brady
                                                                                        does not require
20            disclosure of evidence that a particular victim was not shot by any of these
                                                                                           defendants. If the
2t            Government has such a fundamental misconception of its Brady obligation,
                                                                                       it is impossible for
22            the defendants or the Court to place any reliance on the Government's
                                                                                    assurances that    it
23            understands itsBrady obligations or that it is unaware of any responsive Brady material. See
24            581 F' S,pp. 2d at22 (stating the Court "will view government assurances
                                                                                        Archbold-Manner,
25            that it is making progress in providing discovery to defendants through
                                                                                      a much more skeptical
26            lens"); Naegeleo 468 F. Supp. 2d at 152 n.2. (stating that the court would no
                                                                                            longer accept such
27            conclusory assertions by the Government). Accordingly, the defendants request
                                                                                               that the Court
28            order the Government to disclose "all evidence relating to guilt or punishment
                                                                                             which might be

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      I     reasonably considered favorable to the defendants[']
                                                                 case, that is, all favorable evidence that is
      2    itself admissible or that is likely to lead to favorable evidence
                                                                             that would be admissible, or that
     3     could be used to impeach a prosecution witness." Safavian
                                                                           ,233 F. R. D. at l7 (internal
     4     quotations and citations omitted).

     5

     6                             B. Disclosure of Brady Materials Must be Timely.
     7

     8             Mt' Zogheib respectfully requests that all Brady materials   be disclosed on a timely basis.
     9     The Supreme Court has never precisely pinpointed the time
                                                                         at which the disclosure under Brady
 10        must be made. It is abundantly clear, however, that disclosure
                                                                            must be made at such a time as to
 ll        allow the defense to use favorable material effectively in the evaluation
                                                                                     of proffered plea bargains
 t2        and in time for the preparation and presentation of its case.
                                                                         United States v. euinn, 537 F . Srpp.
 l3        2d99,108 (D' D' C. 2008)' "[A] prosecutor's timely disclosure obligation
                                                                                    with respect to
 t4        [Brady] material cannot be overemphasized," and the practice of delayed production must       be
 l5       disapproved and discouraged. United states v. Starusk o,72g F.2d
                                                                           256,261          (3dcir. l gg4)
t6        (citations omitted). To allow the Government to purposely conceal
                                                                            known exculpatory material
t7  until it chooses to disclose it would sanction gamesmanship at the expense
                                                                                ofjustice. See Brady,
l8 373 U'S' at 87 (emphasizing prosecutor's responsibility is not to win convictions
                                                                                      but to see that
t9 justice is done)' Thus, if the Government nowpossesses, or in the future
                                                                              becomes aware of,
20 Brady materials, it should make it available forthwith so that
                                                                  the defense, not the Govemment,
2t        may determine for itself how to best make use of the information. Indeed,
                                                                                    the legal profession,s
22        regulatory authorities have expressed the propriety of and need for early
                                                                                    disclosure of Brady
23        material. See, e.g., ABA Standards for Criminal Justice, l1-2.1(c), I I -2.2(a)(3d
                                                                                             ed. 1993)
24        (disclosure "as soon as practicable following the filing of charges");
                                                                                 id. 3-3.1l(a) (,.disclosure at
25        the earliest feasible opportunity") (quoted in Kyles, 514 u.s. at 437 (emphasis
                                                                                            added); D.c. Rules
26        of Professional Conduct, Rule 3.8 (disclosure "upon request and at a time when
                                                                                            use by the defense
27        is reasonably feasible"). The prosecutors, no less than any other attorneys,
                                                                                       are bound by the ethics
28        rules' "[Al more lenient disclosure burden on the government would drain Brady
                                                                                              of all vitality.,,

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     I        United States v' Elmore, 423 F.2d 775,77g (4th Cir. 1970). The
                                                                                case for early production of all
     2        Brady material in this case is compelling. "An attorney for the
                                                                              Government        shall be subject to
     J        State laws and rules, and local Federal court rules, governing
                                                                             attorneys in each State where such
     4        attorney engages in that attorney's duties, to the same extent and
                                                                                 in the same manner as other
     5        attorneys in that   state." Title 2g u.s.c. $ 5308 (a). Moreover, the risks of
     6        spoliation of evidence, or inability to locate witnesses or refresh recollections,
                                                                                                 are greatly
     7        amplified with the passage of time. Given these difficult circumstances,
                                                                                       delaying the production
     8        of Brady material risks delaying the trial as the defense attempts to investigate
                                                                                                information
  9           learned through the Government's belated Brady disclosures.

 l0                   Since the preliminary and limited production of discovery documents, which
                                                                                                 included a
1l           very limited amount of Brady material, the Government has settled into a pattern
                                                                                              of ignoring
t2           what Brady materials are within its possession and therefore, must be ordered disclosed
                                                                                                     by a date
l3           certain, or the defendants herein will have every reason to fear they will continue to receive
                                                                                                            bits
t4           and pieces of exculpatory information until the eve of     trial. To make effective   use of this
l5           information, the defense needs adequate time to consider this information and conduct a
                                                                                                     thorough
l6           investigation. This cannot be accomplished if disclosure is delayed. The cumulative significance

t7           of the Government's foot-dragging is troubling. Given how extraordinarily difficult it will
                                                                                                         be for
l8           the defendants to conduct further factual investigation, particularly with witnesses who
                                                                                                      may still
         l


lel          be in scattered all over the country, this is the kind of case that cries out for open-file discovery,

20           which the defendants have requested. The Government's current refusal to adopt such a policy
                                                                                                          is
2t           puzzling at best; at worst, it betrays a win-at-all-costs attitude that is never appropriate.
                                                                                                           Further,
22           the Jencks Act, does not vitiate the Govemment's        Brady obligation to disclose witness
23           statements well in advance of trial   if portions of those statements also fall under Brady.    See
24           United States v. Tarantino, 846 F.2d 1384, I 414 n.l I (D.C. Cir. 1988) (limitations on discovery
25           in Jencks Act do not lessen Brady obligation). "Brady always trumps . . . Jencks . . . .',

26           disclosure timings. [c.f., Safavian,233 F.R.D. at      16.] The U.S. Attorney's Office    has long
27           improperly treated Giglio materials as some lesser-importance sub set of Brady materials,

28           permitting it to turn over such material at or near the trial date, it is clear that Giglio materials
                                                                                                                   are


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      I     Brady materials and must be produced in      a   timely fashion to enable the defense to make
      2    meaningful use of that information. See Bagl ey,473 U.S.
                                                                       at 676 (stating impeachment evidence
      1
     J     "falls within the Brady rule"); Kyles, 514 u.s. at
                                                              433 (noting there is no .,difference between
     4     exculpatory and impeachment evidence" when it comes
                                                                   to the prosecutor,s duty to disclose
     5     evidence favorable to the accused). Accordingly, the
                                                                defendants request that the Government be
     6     ordered to produce all Brady material, including any
                                                                documents or information the Government
     7     considers to be Giglio material.

     8             The Defendant would request that the government's attorney
                                                                                 be ordered to examine his
     9     files and to question the government's agents, informants or
                                                                        other persons working with the
 t0        government in this case, as to their knowledge of any
                                                                  such evidence or materials. Defendant
 ll        would further request that he be allowed to question the government's
                                                                                  attorney and the
 t2        government's agents concerning their knowledge of exculpatory
                                                                            evidence and diligence in
 13        attempting to locate such evidence.

 14                                                 III. CONCLUSION
l5                The Government's duty of disclosure is based upon the accused's right
                                                                                        to due process        of
t6        law under the Fifth Amendment to the United States Constitution,
                                                                              and as interpreted by the
t7        courts' Because fundamental rights are involved the Government has a
                                                                                  duty to disclose any
l8        evidence that is arguably favorable to a Defendant's case. The evidence
                                                                                   should be disclosed
t9        promptly upon its discovery by the Government. One does not
                                                                         have to look beyond the recent
20        events in one of the most prominent prosecutions specifically, United
                                                                                States v. Bundy, Z:16-cr-
21        00046-GMN-PAL to realize sadly that the office of the United States
                                                                                      Attorney in this District
22        fails to take seriously its obligation to see that justice is done. Its win
                                                                                      at all costs philosophy has
23        done a disservice to the good name of the Department of Justice,
                                                                           and resulted in the Chief Judge
24        dismissing that case with prejudice.

25                       The Defendant has given examples in his motion of what he considers
                                                                                             to be
26        exculpatory evidence. That list is not exhaustive, and the Government's
                                                                                  duty of production
27        should not be limited to those specific items, but should be interpreted
                                                                                   broadly to include any item
28        that is arguably favorable to the Defense.


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          I             WHEREFORE' the Defendant prays that
                                                            his motion for exculpatory or Brady
                                                                                                materials be
      2            GRANTED.
      3

      4

      5
                                                               DATED this l9,h day of Januarv.20lg.
                                                                                        -----'J
                                                               Respectfully      Submitied.      '
      6
                                                                 ls/
      7
                                                                Ran@
                                                                Attorney lor Jihad Arithony Zoghieb
      8

     9

 l0
 11
                                          DECLARATION OF COUNSEL RANDALL J.
 t2                                                                         ROSKE

 l3
                        Declarant, Randall J. Roske, under penalty of perjury,
 t4                                                                            makes the following declaration:

 t5            L        That Declarant   is   an attorney duly licensed to practice in the State
                                                                                                 of Nevada, and in such
 t6                     capacity to act as counsel of record for Defendant,
                                                                            Jihad Anthony Zogheib,in the case
 t7                     styled United States of America v. Jihad Anthony
                                                                            zogheib.with an assigned District
 l8                     Court Case Number of 2:16-cr-00057_LRH_VCF.
 t9
20            2.       That Declarant prepared and sent a letter to the prosecutors
                                                                                    via e-mail, on october 24,2017
2t                     and october 31,2017 . please see the Letters
                                                                      attached as ,,Exhibits A and B.,,
22

Z)            3.       That your Declarant has not received any responsive
                                                                             correspondence from the united
24)                    States Attorney, as of the drafting of this Motion,
                                                                           save a terse communique to go ahead
25                     and file your motion.

26            4.       That Declarant requested that the prosecution accept
                                                                             his letters referenced above as
27                     compliance with Local Rule 26-7(c) meet-and-confer
                                                                              requirement, in an attempt to
28                     resolve discovery disputes before the filing of any
                                                                           Motion to compel.

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         I
                                           DATED this 19th day of January 201g.
      2

      a
      J
                                              lsl
      4
                                           Randa@
      5

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     9

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26                                    EXHIBIT A
27

28


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          I

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      J

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 t8
                                 EXHIBIT B
 19

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21

22

Z)

24

25

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27

28


                                       Pagel9of2l
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                            Law Office of Randall J. Roske
                                     400 South Fourth Street, Suite 500
                                         Las Vegas, Nevada g9.101
                                              t702.793-4211
                                     e-mail; randallro*e@yahoo.com




  October 24,2017

 Mr. Patrick Burns,
 Assistant United States Attorney
 Office of the United States Attorney,
 for the District of Nevada,
 501 Las Vegas Boulevard South,
 Suite 1100,
 Las Vegas, Nevada 89101

 RE: united States   v. zihad Anthony Zogheib, case Number 2:r6-cr_057_LRH-vcF

 VIA : e-rnail only: john.p. burns(a)usdoi.eov

 Dear Mr. Burns:


        As Mr' Zogheib's    counsel in the above ref'erenced case, Ihave
                                                                         obtainecl specialized

investigative assistance. My Investigator
                                          has preliminarily identified items of Brady (and

progeny) materials tltat are necessary for
                                           the completion of the defense investigation.
                                                                                        The
attached is a first request for specific forms
                                               of exculpatory evidence.


       The Def-endant formally requests that the government's
                                                              attorneys examine their flles and
to question the governtrlent's agents, infbrmants
                                                  or other persons working with the government

in this case' as (o their knowledge of any such
                                                evidence or lraterials. Defendant would further

request that his representatives be allowed
                                            to question the government's agents concerning
                                                                                           their
knowledge of exculpatory evidence and diligence
                                                in attempting to locate such evidence.
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  Documents demand inZo heib 2:1"6-cr-000

                                       GIGLIO


1) Certification/confirmation, from the US Attorney's office that there  is nothing to
  produce in Discovery related to Giglio issues due to:
                                                         the USAOs verbal inquiry
  (per instruction in the U.S. Attorney's Office Manual) of
                                                            all FBI employees and
  TFos working the Zogheib case for any pending Giglio issues, and
                                                                      that each
  government employee's name has been queried, with negative, results
                                                                             in the US
  Attorney's office Giglio/Brady database for past entries.

      Specifically: Lance Shakespear; Jennifer Piovesan; Thayne A. Larson; Ryan S.
      Burke; Jerald Burkin; christina Burt; Marcus J. Florez; John salazar; Neil
      Umphress; Sean C. Jones; Jayme E. Gentile;


     Specifically, all records related to any investigation of Charles Ro, who acted
     as a supervisor periodicallv on the Zoeheib investigation; particularly any
     internal investigation (Office of Professional Responsibility-OpR or DOJ-lG)
     related to use of government money to purchase prostitution services in the
     Philippines for targets of his investigations or other FBI employees. produce
     adjudication findings and penalties imposed on Ro. Produce the statement
     of FBI sA Marc Napolitano or any other emproyee regarding Ro. produce all
     records prepared andlor provided by FBI Director Robert Mueller to the U.S.
     Senate Judiciary Committee at the order of U.S. Senator Charles Grassley,
     related to Ro's use of t.J.s. government funds to purchase underage
     prostitutes in the Philippines.

     Produce TFo lA files from their respective police agencies for anyTFo
     working in conjunction with the Zogheib investigation.
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2)   Regarding any cHS used in the investigation
                                                 (known at a minimum are
       5-0052998 and 5-0056845):
     o    For determining electronic communications
                                                      not turned-over in Discovery:
          Disclose all phone numbers (SMS/text),
                                                 email addresJes or any screen
          names used by the FBI to communicate
                                                 electronically with any ct-ts in this
          case.
     o    Drsclose approvals granted by theFBII for the case agents/handlers
                                                                             to
         communicate electronically with the CHS or that
                                                           those required approvals
         were not obtained.
         Disclose all money paid in total for anv purpose
                                                          to the CHS including both
         expenses and services (CHS ,,V,, sub-file);
         Disclose the amount of money paid rerated g[!c!la!o
                                                             the Zoeheib case
         (Services + Expenses broken out separately).
 o       Disclose the most recent Criminal History.
 a       Disclose the results of FBr required pubric Records
                                                              checks for CHS from
         commercial databases (e.g. Lexis/Nexus-lnvestigator/Accurint);
         Disclose the results of periodic lndices/sentinel inquires
                                                                    related to CHSs
         (specifically if the CHS was indexed as a reference
                                                             or subject in other FBI
         investigatio ns);
         Disclose all FBI approvals for the CHS to engage in otherwise
                                                                         lllegal Activity
         (olA) and include dates of authority and termination
                                                                of authority;
         Provide copies of consensual monitoring authorization
                                                                  ECs/approval forms
         and consensual monitoring forms (FD-4r2 and FD-473) signed
                                                                           by the CHS
         Copies of any admonishments documented to the CHS file
                                                                      evidencing
                                                                             the
         CHS having
                  violated rules, violated policies etc.;
      Disclose any 3'd party benefit agreements documenting
                                                              the CHS is working-
      off prosecution issues of another person;
      Disclose any prosecution deferral or declination or benefit (e.g.
                                                                        Visa
      adjustment) promised to the CHS in exchange for the cHS,s cooperation.
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          Disclose the resurts of the required
                                               CHS "Testing,, by the case agents
                                                                                 if the
          cHS failed the testinq.-ln any case,
                                                confirm the CHS was;;;;*      ;.';ffi
         Disclose if the CHS had recorriing
                                            equipment routinery a-ssigned to him
         extended periods of time, which is routine                              for
                                                    with cHS,s in the FBr. Discrose if
         that recording equipment was in the possession
                                                          of the CHS while meeting
         with Zogheib but not used to record conversations.



                                                              LECORDS

 3) AllTErrs/sMs, lM plus EMAIL on BorH the
                                                 FBt inrernal (FBt Net) and FBt official
    external (lnternet caf6-lc) tofrom all agents,
                                                   TFos, cHSs or professional support
      staff relating in any way to the investigation.
         NorE: specificaily incrude not onry officiaily assigned
                                                                  rong_term phones
         (Galaxy-Bu phone) but ALL FBI owned
                                                   cell phones tNCLUDilNG anv cell
                                                                    The rnternal FBI lM
         application shouid also be searched, lf personal
                                                             or private devices were
         used by agents, produce those rerevant communications
                                                                      arso.

        Produce all relevant lM/texts/emails for the
                                                     entire investigation period, but
        prioritize first for product&U:


        THosE coMMuNrcATtoNS oF: IANCE SHAKESPEAR,
                                                   RYAN s. BURKE and
        THAYNE A. IARSON;


        FOR:
        All electronic communications with anv investigator
                                                            and any (either) CHS
        regarding Zogheib;



4)   Detail funds expended, and any documents
                                                 related to purchase by government
     agents of software/apps to configure text
                                               communication to save incoming
     commun ications a nd del ete outgoing com
                                               m un ication.
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5) Toll records for all calls and texts for any agent assisting in the investigation
   contacting CHS phones. lnclude voice contact and text contact with numbers
   contacted, date, time and length of contact.



6) ANY criminal history, investigative files or Brady/Giglio material for     KENNETH
   RICHARD WYNN.




7) ANY criminal history, investigative files or Brady/Giglio material for   KIRK EVAN
   LEWIS.




8) Any worksheets, work papers, notes, reports or forensic exam results of the email
   alleged to have been sent on or about 05/tO/2011 to Kenneth Wynn, specifically
   where the email originated, where it was received and the identity of the sender.
   lnclude lP addresses, routing evidence, and any evidence that the email was
   transmitted into the State of Nevada.


                                     OTHER
9) All FD-302 reports, FD-1023s or Electronic Communications    (ECs)   for any contact
   with   NSDC guards regarding Jeffrey Turino.


      All recorded calls in possession of the FBI of Anthony Zogheib speaking on
      telephones at any detention/prison facility at which he has been incarcerated
      related to his indictment.



10)   Records of any instructions received by the FBI for minimizing or segregating
   Zogheib legal calls to make sure privileged conversations are not overheard by the
   government.
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 11)       Any reports/notes of government agents who listened
                                                                     to Zogheib,s recorded
       calls' specifically include agent notes, even if handwritten
                                                                    or not entered into the
       FBI official record keeping system.




L2)      All records in possession of the government showing
                                                                any travel activity (credit
      card receipts/airline tickets etc) for the whereabouts
                                                             of Kenny Wynn from the
      period of O5/Ot/2011 throu
                                    eh OS/20/2OLL.


13)      All records in possession of the government showing any
                                                                    travel activity (credit
      card receipts/airline tickets etc) for the whereabouts of
                                                                Anthony Zogheib from
      the time of OS/OL/2011 throu eh OS/20/2OLI.



L4)      All records of interview of Kenny wynn regarding conversations,
                                                                         observations
      or activities Wynn engaged in with Zogheib during two days aboard
                                                                         Zogheib,s
      yacht in or near the san Diego Marriott Harbor in mid-2013.



15) Opening communication of FBt File 2g1N-2476g18.

16)  Serial 13 of 3188-LV-4L778-GJ. (Document was deleted and removed
                                                                      from
  Zogheib file).



77)     Opening communication (EC or other) authorizing the opening and Full
                                                                             Field
  I   nvestigation of 3 188-LV-4 L77 g.



18)     The Sentinel listing/index of ,,LAs,, in the case.
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                          Law Office of Randall J. Roske
                                  400 South Fourth Street, Suite 500
                                        Las Vegas, Nevada 891 01
                                           a702.793-4211
                                  e-mail: randallroske@vahoo.com




October 31,2017

Mr. Patrick Bums,
Assistant United States Attorney
Office of the United States Artorney,
for the District of Nevada,
501 Las Vegas Boulevard South,
Suite I100,
Las Vegas, Nevada 89101

RE: united states   v.zihad Anthony Zogheib,        case Number 2:16-cr-057-LRH-vcF

VIA: e-mail only: john.p.burns(a)usdoi.gov

Dear Mr. Bums:

       As you all ready know, that as Mr. Zogheib's counsel in the above referenced case, I have

obtained specialized investigative assistance. My Investigator has identified additional items   of
Brady (and progeny) materials as he has worked through the discovery, that are necessary for the

completion of the defense investigation. The attached is a second request for specific forms of

exculpatory evidence.



       Once again, the Defendant formally requests that the govemment's attorneys examine

their files and to question the government's agents, informants or other persons working with the

govemment in this case, as to their knowledge of any such evidence or materials set forth in the

attached exculpatory evidence demand. The Defendant would further request that his
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  representatives be allowed to question
                                         the government's agents concerning
                                                                            their knowredge        of
  exculpatory evidence and dirigence
                                         i. attempting   to rocate such evidence.

         Thank you lor your assistance in this
                                               matter, and I shalr await the favor
                                                                                   of your response.
  I shall calendar your respottse for
                                      Nover-nber 6,2017. If this tirne frame
                                                                             is not practical, I suggest
 we meet and confer in an attelttpt to
                                       resolve the problern as recluired by the
                                                                                local Rules.
 Specifically, Local Rule 26-7 (c) requires:

         Discovery motions
                         will not be considered unless the movant (l has made
                                                                    )         a good-faith
         efforttomeetandconferascleflnedinLRlA l-3(f)beforefilingrhemotion,and(2)
         includes a declaration setting tbrth the cletails
                                                           and results of the meet-and-conf-er
         conference about each disputed discovery request.

 Kindly accept this letter as Defense counsel's effort
                                                       to estabrish a "lneet and conler,,conference

 as required by the   United States District Cor.rrt of the District of Nevada,s
                                                                                 Local Rules of
Practice, to resolve any discovery disputes, without
                                                     resoft to filing a Motion to Compel

Disclosures.




                                                          Sincerely,

                                                          lsl
                                                          Randall J. Roske
                                                          Attorney for Zogheib




encl.
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S_eqpnd        Sefense Documpnt de
                      2:16-cr-00057j
 1.    Produce any records, email, text, EC's, FBr rech
                                                         Request forms or other
      evidence regarding the seeking or obtaining of an 2703(d)
                                                                  order under the
       Electronic Communications Privacy Act of 1986 for records
                                                                    sought reading
      lihad Anthony Zoghieb, Paul S. Nassif, Kenneth wynn or Kirk
                                                                  Lewis Evans from
      Google, MGM Resorts lnternational (and related entities),
                                                                  Wells Fargo Bank
      or any other financial institution.



2' Any divorce     record-s   of Paul S. Nassif, M.D., specifically related to financial
      aspects of Nassif's divorce proceedings.



3. Any bankruptcy records related to Kirk        Evan Lewis, including records of the
      U.S Bankruptcy Court.




4.   Email, text or FBI report of interview (FD-302), or IRS report of interview
                                                                                 for
     contact with Steven Saum on or about LUOS/201,6, believed to have been
     conducted at 91_0 South Lola Lane, parhump, NV.



5. Email, text or FBI report of interview (FD-302) or IRS report of interview for
     contact with Donna Walker-Zgheib on or about 1,1,10812016, believed to have
     been conducted at 910 South Lola Lane, parhurnp, NV.



6. Any records of contacts with Nye County Sheriff Sharon Wehrly       regarding
     steven saum, Anthony Zogheib, Nye Technologies, lnc. or Jeffrey Turino.



7. Any reports of interview of Cynthia Taylor-Miller.
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 8'    Any wire transfer records, Federal Reserve
                                                   Bank records or other financial
       institutio. records evidencing an aileged
                                                 wire transfer of s268,ooo on or
       about 02/25l2a1,L was executed via the
                                              Federar Reserve Fedwire system,
       Real Time Gross settrernent system (RTGS)                              the
                                                      or the Crearing House for
       lnterbank payment System (CHlpS).



 9'   Transcripts of Federal Grand lury 2012-R01002
                                                    or 2014-R O!g42, District of
      Nevada, related to Anthony Zogheib.



 10'Any records, interview documents, filings
                                              or other evidence regardi.g contact
    with the United states securities Exchange Commissiorr (SEC)
                                                                   regarding Nye
    Technologies, lnc.



11'Any recordings or other records of a conversation
                                                      between Donna walker-
   Zgheib and Anthony Zogheib on or about 1,2l2s12016
                                                       occurring at the Nevada
   Southern Detention Center (NSDC), parhump, NV.



L2'Produce page 2 of FBI FD-302 report of interview with Kenneth
                                                                 wynn dated
      021261201.3.




13.Produce copy of Federal GranrJ.Jury subpoena number,,oo5,,in
                                                                this matter
   related to Anthony Zogheib , (2Ot2-R01002-005").



14.Produce recording of Anthony Zogheib dated on or about og/L3/20L3.
   lnclude any FBI FD-472/473 forms and FD-302 reports of chain of custody
                                                                             on
  the recording device, reports of surveillance and copy of the front of the
                                                                             FBI
  form "7D" envelope for this recording.
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                                       Page2l of 2l
   Case 2:16-cr-00057-LRH-VCF Document 82 Filed 01/20/18 Page 32 of 33




                            JEFF DANIK
                            FB   l- Reti red




Former FBI Supervisory Special Agent Jeff Danik retired after a diverse,
                          -
twenty-eight-year career with the FB1. His assignments included as a
Supervisor and Acting Watch Commander in the FBt's Counter-Terrorism
Division, lengthy tours as the FBI representative to Saudi Arabia and in
the Horn of Africa, as well as a two-year assignment as the           FBI
representative to Kuwait. He holds the unique distinction of serving as
an Acting Assistant Agent-in-Charge of both a violent crime and a white-
collar crime branch of a major FBI field office.

Danik supervised highly-successful FBI task force operations in both
white-collar crime and violent crime programs. ln his finat assignment,
he had numerous police officers and detectives assigned to him as Task
Force Officers. His Task Forces became models recognized by FBI
leadership as best practices to be implemented elsewhere in the FBl.

He served as a long-time FBI street agent in south Florida and was the
lead investigator in kidnapping and bank robbery investigations, and,
being a former Certified Public Accountant, Danik has an extensive,
successful track record of significant federal investigations into stock
fraud, public corruption, money laundering, healthcare fraud,
government procurement fraud, the Foreign Corrupt Practices Act and
financial institution fraud. He is responsible for convicting hundreds of
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  people of crimes and has
                            been named an outstanding tnvestigator
  Year on severar occasions                                          of the
                             by the United States Attorney,s
                                                             office.
  Danik has extensive experience
                                   with the FBr undercover program.
  received an award from the FBI                                       He
                                   Director for his role as an undercover
  agent in a significant money laundering
                                          case and has led numerous FBI
 undercover investigations, one
                                 of which was recentry awarded the
 prestigious Attorney Generars
                               Award for Fraud prevention.

 currently he is engaged on numerous
                                      criminar defense cases as a
 consultant rerated to reviewing and
                                     evaruating the strength and
 weaknesses of law enforcement investigations
                                                conducted against
 clients' Many attorneys have found his
                                          inpulcruciat to constructing their
 client's defense. He is a vorunteer, pro-bono,
                                                court appointed Guardian_
 ad-Litem in Florida, representing abused
                                             and neglected children under
 the court's supervision.

Danik also advises private companies
                                        on due-diligence, risk assessments,
security and supply chain issues and he
                                            counts a major motion picture
industry writer as a client. He is a Florida
                                             licensed privateinvestigator.

Danik is often quoted by, or works with
                                              media outrets regarding FBr
issues, including The walt streetJournal,
                                           Newsweek, The rntercept, local
cBS affiliates, sinclair Broadcasting and
                                          Judicial watch. He has appeared
on many live and recorded broadcast television programs
                                                            and webcasts.

Danik graduated with Honors from the University
                                                    of Memphis, served
four years in the U.s. Air Force, served as an intern
                                                      in the U.s. senate,
held a private pitot license and spent two years
                                                 on staff with          an
international, "big-fou r,,, Cp Afirm.
